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                                   STATEMENT OF FACTS

        Your affiant, Jessica L. Stone, is a Special Agent with the Federal Bureau of Investigation
(FBI) assigned to the San Antonio Field Office (SAFO), Counterterrorism Division. In my duties
as a special agent, I am currently assigned to the Joint Terrorism Task Force, specifically
specializing in domestic terrorism. As a special agent, I have assisted in the preparation of
numerous search warrant applications, conducted, or participated in physical and electronic
surveillance, assisted in the execution of search warrants, debriefed informants, and reviewed other
pertinent records. Currently, I am tasked with investigating criminal activity in and around the
Capitol grounds on January 6, 2021. As a Special Agent, I am authorized by law or by a
government agency to engage in or supervise the prevention, detection, investigation, or
prosecution of a violation of Federal criminal laws.

        The U.S. Capitol is secured 24 hours a day by U.S. Capitol Police. Restrictions around the
U.S. Capitol include permanent and temporary security barriers and posts manned by U.S. Capitol
Police. Only authorized people with appropriate identification were allowed access inside the U.S.
Capitol. On January 6, 2021, the exterior plaza of the U.S. Capitol was also closed to members of
the public.

        On January 6, 2021, a joint session of the United States Congress convened at the United
States Capitol, which is located at First Street, SE, in Washington, D.C. During the joint session,
elected members of the United States House of Representatives and the United States Senate were
meeting in separate chambers of the United States Capitol to certify the vote count of the Electoral
College of the 2020 Presidential Election, which had taken place on November 3, 2020. The joint
session began at approximately 1:00 p.m. Shortly thereafter, by approximately 1:30 p.m., the
House and Senate adjourned to separate chambers to resolve a particular objection. Vice President
Mike Pence was present and presiding, first in the joint session, and then in the Senate chamber.

       As the proceedings continued in both the House and the Senate, and with Vice President
Mike Pence present and presiding over the Senate, a large crowd gathered outside the U.S. Capitol.
As noted above, temporary and permanent barricades were in place around the exterior of the U.S.
Capitol building, and U.S. Capitol Police were present and attempting to keep the crowd away
from the Capitol building and the proceedings underway inside.

        At such time, the certification proceedings were still underway, and the exterior doors and
windows of the U.S. Capitol were locked or otherwise secured. Members of the U.S. Capitol Police
attempted to maintain order and keep the crowd from entering the Capitol; however, around 2:00
p.m., individuals in the crowd forced entry into the U.S. Capitol, including by breaking windows
and by assaulting members of the U.S. Capitol Police, as others in the crowd encouraged and
assisted those acts.

       Shortly thereafter, at approximately 2:20 p.m. members of the United States House of
Representatives and United States Senate, including the President of the Senate, Vice President
Mike Pence, were instructed to—and did—evacuate the chambers. Accordingly, the joint session
of the United States Congress was effectively suspended until shortly after 8:00 p.m. Vice




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President Pence remained in the United States Capitol from the time he was evacuated from the
Senate Chamber until the sessions resumed.

        During national news coverage of the aforementioned events, video footage which
appeared to be captured on mobile devices of persons present on the scene depicted evidence of
violations of local and federal law, including scores of individuals inside the U.S. Capitol building
without authority to be there.

                                Facts Specific to JARED L. WISE

       On January 26, 2022, an individual (“U1”), whose identity is to remain anonymous,
reported to an FBI Washington Field Office (“WFO”) Supervisory Special Agent (“SSA”), that
JARED L. WISE (“WISE”) told U1 that WISE was inside the United States Capitol building on
January 6, 2021. U1 provided WISE’s identifiers to include WISE’s date of birth, August 5, 1972,
telephone number of XXX-XXX-1300 (“WISE’s Phone”) and a possible residence in New
Braunfels, Texas.

        FBI conducted a database search and learned WISE’s Phone service was provided by
Cingular Wireless, now operated by AT&T. Legal process from AT&T confirmed that WISE was
the subscriber on that account and uses the phone number given to FBI by U1. Pursuant to a court-
authorized search warrant, law enforcement obtained records from AT&T for cell towers providing
service to the United States Capitol. In and around the time of the Capitol’s breach, WISE’s Phone
used a cell site that provides service to the area that includes the interior of the United States
Capitol building (“the cell tower”). Specifically, AT&T’s records showed WISE’s Phone was
active on the cell tower at approximately 14:15:06, 14:22:06, 14:26:06, and 14:29:16 Eastern
Standard Time (“EST”) on January 6, 2021.

       I reviewed information received from the Federal Bureau of Investigation (“FBI”), that
confirmed WISE was a Special Agent and Supervisory Special Agent with the FBI from 2004
through 2017.

       Footage from U.S. Capitol CCTV and MPD BWC depicts WISE inside the U.S. Capitol
and on the grounds of the U.S. Capitol on January 6, 2021.

       A review of the U.S Capitol’s CCTV footage revealed a video of WISE inside the building.
At approximately 2:23 PM EST, WISE entered the U.S. Capitol building through the Senate Wing
Door. The screen capture below is a still image from U.S. Capitol’s CCTV footage, showing WISE
entering the U.S. Capitol building.




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        After entering through the Senate Wing Door, WISE clapped his hands and raised his arms
in triumph. WISE walked through the Crypt and past the Memorial Door, ultimately returning and
exiting through a window adjacent to the Senate Wing Door. While inside the U.S. Capitol
building, WISE is seen wearing a blue jacket and a dark facemask and carrying a dark backpack.
The below are still images from U.S Capitol’s CCTV footage. In each, WISE is circled in yellow.




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       According to U.S. Capitol CCTV footage, WISE exited the U.S. Capitol building at
approximately 2:32 PM EST through a window adjacent to the Senate Wing Door. Below are still
images from U.S. Capitol CCTV footage depicting WISE exiting the U.S. Capitol building. In
each, WISE is circled in yellow.




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        A review of MPD BWC footage revealed WISE engaging with police officers. At
approximately 4:21 PM EST, on the Upper West Terrace, WISE tells MPD officers, “You guys
are disgusting. I’m former—I’m former law enforcement. You’re disgusting. You are the Nazi.
You are the Gestapo. You can’t see it. . . . Shame on you! Shame on you! Shame on you!” When
violence against law enforcement began in front of WISE, including officers being knocked to the
ground directly in front of him, WISE turned in the direction of the violence and shouted, “Yeah,
fuck them! Yeah, kill ‘em!” A few seconds later, as assaults continued, he shouted in the direction
of the rioters attacking the police line, “Kill ‘em! Kill ‘em! Kill ‘em!” The below images are still
images from BWC footage. WISE appears wearing a blue jacket and black hat, and carrying a dark
backpack. In the third still image, WISE is circled in yellow.




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        Surveillance and legal process confirmed that until approximately June 25, 2022, WISE
resided in New Braunfels, Texas. On November 30, 2022, an interview was conducted with a
manager at the building in which WISE resided. The manager identified WISE in a photograph by
both his driver’s license photograph and the first still captured above from MPD BWC footage.
The manager confirmed WISE was a resident there until June 25, 2022. At that time, WISE moved
out of that apartment and left a forwarding address in Bend, Oregon. Surveillance conducted in
December 2022 has confirmed WISE’s location at this address.

        Based on the foregoing, your affiant submits that there is probable cause to believe that
WISE violated 18 U.S.C. § 1752(a)(1) and (2), which makes it a crime to (1) knowingly enter or
remain in any restricted building or grounds without lawful authority to do so; and (2) knowingly,
and with intent to impede or disrupt the orderly conduct of Government business or official
functions, engage in disorderly or disruptive conduct in, or within such proximity to, any restricted
building or grounds when, or so that, such conduct, in fact, impedes or disrupts the orderly conduct
of Government business or official functions. For purposes of Section 1752 of Title 18, a
“restricted building” includes a posted, cordoned off, or otherwise restricted area of a building or
grounds where the President or other person protected by the Secret Service, including the Vice
President, is or will be temporarily visiting; or any building or grounds so restricted in conjunction
with an event designated as a special event of national significance. Additionally, your affiant
submits there is also probable cause to believe that WISE violated 40 U.S.C. § 5104(e)(2)(D) and
(G), which make it a crime to willfully and knowingly (D) utter loud, threatening, or abusive
language, or engage in disorderly or disruptive conduct, at any place in the Grounds or in any of
the Capitol Buildings with the intent to impede, disrupt, or disturb the orderly conduct of a session
of Congress or either House of Congress, or the orderly conduct in that building of a hearing
before, or any deliberations of, a committee of Congress or either House of Congress; and (G)
parade, demonstrate, or picket in any of the Capitol Buildings.




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                                                    _________________________________
                                                    SPECIAL AGENT JESSICA L. STONE
                                                    FEDERAL BUREAU OF
                                                    INVESTIGATION

Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1
by telephone, this 12th day of April 2023.
                                                                          Moxila A. Upadhyaya
                                                                          2023.04.12 17:50:44 -04'00'
                                                    ___________________________________
                                                    MOXILA A. UPADHYAYA
                                                    U.S. MAGISTRATE JUDGE




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